 Case 1:21-cr-00078-LEW Document 39 Filed 05/28/21 Page 1 of 5                          PageID #: 63



                                                    I
                            UNITED STATES DISTRICT COURT
                                  DISTRICT OP MAINE


UhIITED STATES OF AMERICA                      )
                                               )
                v.                             )        Crim. No. lrJ
                                               )
DAVID PHILLIPS                                  i

                                COOPERATION AGRIEMENT
                                     (Filed Under Seal)

       The tlnited States of America, by and through Donalcl E. Clark, Acting United States

Attorney tbr the District of lvlaine, and Andrew McCormack, Assistant United States Attorney,

ag<i David   Phitlips (hereinafter "Detbndant"), acting lor himself and through his counsel, Luke

Rior:-x, Esquire, enter into this Co<iperation Agreement based upon the promises and

understandings set forth herein. 'fhis Agreement supplements the Agreeme*t to Plead Guilty

dated May 26"2021. The terms of the Agreement to Piead Guilty remain intact and are

ineorporated herein by retbrence.

       1"       Coqperati{}n. Det'endant agrees to meet with attorneys and agents of the

Govemment, and with such other govemment oltcials as the Attomey for the Goventment may

direct (hereinatter "tlte Gov*mment") as needed, to tell fully, honesti3'', truthfull,v and completely

all that he kn6ws or has heard about violations of federal and stata laws, including but not limited

to his involvement and the involvernent of others in violations of law as set tbnh in the charging

insrrument herein and to answer all related questions in the same manner. He agrees to provide

the Government or aid the (iovemment in acquiring al} documents. photographs, bills, records,

receipts , data, digital meciia, or inlernet {iles, and alt like rnaterials (including such materials
  Case 1:21-cr-00078-LEW Document 39 Filed 05/28/21 Page 2 of 5                            PageID #: 64



                                                     2
maintained on eiectronic devices) and all like materials to which he has access, rvhictr      will

corroborare this information. Defendant further agrees to testity fully, honestly, truthtirlly and

completell.. at any and aii grand juries" trials or other official prcceedings in which his testimony

is requested, in the District of Maine, or any other place. Defendant agrees to meet with

                                                                                    jury, at
Govemment agents or attomeys in preparation fbt any such testimony before the gra*d

rrial or at any other official proceeding. Detbndant agrees that he will not oppose any request by

the Govemment to postpone the sentencing hearing in this case.

        Z.      Lqtter Immuni$,.'. Intbrmation which the Defendant provides pur$uant to this

Agreement shall be deemed to have been acquired pursuant to the use and derivatlve use

immunity provisions of 18 U.S.C. $ 6001 qt,- seq.        . The U.S. Attomey agrees n<lt to use any such

information. or inlbrmation provided pursuant to the profTer agreement executed on lv{arc}r           I'
 Z021,or any information directly or indirectl,v derived tkerefrom against Defendant in any

 criminal case. except in   a prosecution   for: ( 1) perjury or obstruction ol justice, or for making a

 fblse statement afler the date of this Agreement: t2'j acriminal act cf intemational ten"orism (as

 rhat rerm is defined   in 18 U.S.C. $ 2331(1)): or (3) an act of physical violence (as that term is

 defined in 18 U.S.C" $ 15), or conspiracy to commit any such act of'violence. The parties

 understando however, that the Govemment w'ill provide to the Court the infbrmatinn which

 Defendant provides pursuant to this Agreement.          All   such disclosures by the Governrnent,


 however, shall be made subject to the provisions constraining the use of this inlbrmation by the

 District Court and U.S. Probation Office containecl in U.S.S.G" $ 1 81.8{ai and the commenta{

 thereto. Notwithstending rhe provisions of ti.S.S.G. $ 181.8(bX5) and the commentar-v thereto.

 the Lj.S" Attorney agrees to take the position that et the time of sentencing. information prr:vided
 Case 1:21-cr-00078-LEW Document 39 Filed 05/28/21 Page 3 of 5                            PageID #: 65



                                                     J
                                                                                         within
by Defendant pursuant to this ,A.greement should not be used either in determining where

the applicable guideline range to sentence Defendant or in determining
                                                                       whether- or to w'hat

                                                                                         that the
extent, a departure or a variant sentence is warranted. . The parties turther understand

Govemment may. use statements made by the de&ndant, and intbrmation derived
                                                                            tiom such

staternents, to rebut any evidence atfirmatively offered by or on the Defendant's
                                                                                  behalf in any

proceeding in this case.

         3.      Consequences of Breach.     If   Det-endant violates or t'ails to perform any


obligations under rhis Agreement or under the plea agreement ("a breach"). the llnited States

wiil   be released from irs r:bligations hereunder and may      fully prosecute Defendant on all criminal

charges thar cao be brought against Defbndant. With respect to such a
                                                                      prosecution:


                 A.      The United States may use anv., statement that Defendant made pursuant to
                         this Agreement" including statements made dwing proft"ers, detrrielings.
                         grand jury sessions. plea discussions and plea colloquies, and the fact that
                         bet'endant pleaded guilty, and Defendant hereby rvaives any claim under
                         Rule 4i0 olthe Federal Rules of Evidence or Rule 11(fl of the Federal
                         Rules of Crirninal Procedure that such statements and guilty plea are
                          inadmissible. The United States may turther rnake derivative use of
                          statements made pursuant to this Agreement and tr)efendant herehy waives
                          any right to claim that evidence presented in such a prosecutian is t*inted
                          blvirtue of the statements Defbndant has made pgrsuant to this
                           Agreement.

                  B.       Defendant waives any and all det'enses based on the statute of limitations
                           r.vith respect to any such prosecution that is not time-barred on the date
                           that this Agreement is signed by the parties'

                                                                                            by
           The determination of whether Det-endant has committed a breach of this Agreem*nt

 failing to cooperate as required by Paragraph       1 above   shallbe made solely by the United States

                                                                                     have i
  Afiorney for the District of Maine. but a determination adverse to Delendant shall

  material and articulable basis-
 Case 1:21-cr-00078-LEW Document 39 Filed 05/28/21 Page 4 of 5                          PageID #: 66




       4.

Nothing in this Agreement will prevent the United States trom instituting prosecution of

Def'entlant lor perjury, false statement or false declaration if Defendant
                                                                           commits such acts in

                                                                                    States u'ill
connection with this Agreement. Additionally. Defendant understands that the United

not tCIlerate any future violations of state or federal laws by himlher, and should any become

                                                                                            may,
known to have been committed after the effective date of this Agreement, the Linited States

                                                                                             and
in its sole discretion. be released from any or all of its commitments under this Agreement,

may declare this Agreernent null and void. Nothing in this Agreernent will preclude prosecution

of Defendant by appropriate authorities for criminal acts which Defendant may commit a&er the

effective date of this Agreement.

        i.      Financial Statement. The parlies agree and understand that, as part of the

presentence investigation in this case, the United States Probation Otfice     will require that the

 Def'endant submit a true and complete financial statement (with supporting documentationi prior

 to the compietion of, a presentence report. Defendant agrees to cause a copy of such tinancial

 statemenr {with supporting documentation) to be provided to the t-inited States Attorne,v's Office

 at the sarne rime as   it is provided to the Probation Offrce. The tailure by Def*ndant to provide

 financial information as required by this paragraph shail constitute a breach of this agreement.

         6.                                                               .   At the request of

 Defendant, the United States Artomey's Office wili make known the cooperation
                                                                               provided by

 Det'endant to any individual or entity to whom Detbndant wishes such information disseminated,

 so long as such disclosure would not csmpromise lara'enforcemefi       activitl'.
 Case 1:21-cr-00078-LEW Document 39 Filed 05/28/21 Page 5 of 5                        PageID #: 67



                                                  5
                                                                       be inteqpreted to
         7.    Departure Not Required. Nothing in this Agreement shall

require the United States to move the Court pursuant to
                                                        United States Sentencing Commissitn

                                                   3553(e) for a dor*rrward departure"
sentencing Guideline section 5K1.1 or 1g LI"S.C. $

         g.    No Other promisss. Defendant ackno*'ledges that no other
                                                                        promises, agreements.

                                                               and signed by all the parties'
cr conditions will be entered into unless set tbrth in writing

        I have read this Agreement and have carefully reviewed e\rery
                                                                      pan of     it. I understand it
and I have voluntarily agreed to it'



 art*,   \-2J-?o01-
                                                      Phillips,




       I am legai counsel for David Philtips. I have careiylf reviewed.eYery part of this
 Agreement wit'ir David
                        philtips. To my knowledge, David Fhillips' decision tc enter into this
 Agreement is an informed and voluntary one'




 ,.-,41*                                        Luke Ricux. Esquire
                                                Attorney for Defendant




          FOR THE LINITED STATES:               DONALD E.
                                                                                ATTORNEY


                                                             Cormack




                                 Approved:




  Revised 5/&/i8
